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                     UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL RIG           *
       “DEEPWATER HORIZON” IN THE         *               MDL NO. 2179
       GULF OF MEXICO, on APRIL 20, 2010 *
                                          *
                                          *               SECTION J
THIS DOCUMENT RELATES TO:                 *
                                          *               JUDGE BARBIER
ALL CASES                                 *               MAG. JUDGE SHUSHAN
                                          *
*******************************************

   MEMORANDUM IN SUPPORT OF MOTION FOR PARTIAL SUMMARY
    JUDGMENT REGARDING INAPPLICABILITY OF LIABILITY CAP
               UNDER THE OIL POLLUTION ACT

       Plaintiffs respectfully submit the following Memorandum in Support of Plaintiffs’

Motion for Partial Summary Judgment regarding the Liability Cap under the Oil

Pollution Act:

MAY IT PLEASE THE COURT:

       BP Exploration & Production Inc., the designated responsible party, has

unequivocally pledged to “waive the statutory limitation on liability under OPA [the Oil




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Pollution Act of 1990].”1 In light of this judicial confession, there exists no dispute of

material fact as to whether the statutory liability cap provided in 33 U.S.C. §2704(a)-(b)

should apply to any BP Defendant, and, accordingly, Plaintiffs are entitled to a grant of

partial summary judgment with respect to the inapplicability of this statutory cap as to all

BP Defendants. Plaintiffs explicitly request that this Court grant their motion for partial

summary judgment with respect to all actions against BP Exploration & Production or

any other BP entity transferred to and/or consolidated in this district pursuant to the

Judicial Panel on Multidistrict Litigation’s transfer order of August 10, 2010,2 and/or any

litigation arising out of the April 20, 2010, casualty and related oil spill.



I.         Plaintiffs are entitled to a grant of partial summary judgment with respect to
           BP’s waiver of the liability cap under OPA.


           Summary judgment is appropriate “if the pleadings, the discovery, and disclosure

materials on file . . . show that there is no genuine issue as to any material fact and that

the movant is entitled to judgment as a matter of law.”3 A party may be granted summary

judgment with respect to “all or part of the claim.” 4 The principal purpose of the

summary judgment rule is to “isolate and dispose of factually unsupported . . . claims and

defenses.”5 Rule 56 “mandates the entry of summary judgment . . . against a party who


1
     STATEMENT [Doc 559] (Oct. 18, 2010) (Exhibit “A”).
2
     See DOC 1, (Aug. 10, 2010).
3
     FED. R. CIV. P. 56(c)(2).
4
     FED. R. CIV. P. 56(a).
5
     Celotex Co. v. Catrett, 477 U.S. 317, 323-24, 106 S. Ct. 2548, 2553 (1986).


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fails to make sufficient showing to establish the existence of an essential element to that

party’s case, and on which that party will bear the burden of proof at trial.”6

        Similarly, “[s]ummary judgment is not a ‘disfavored procedural shortcut,’ but

rather an integral part of the Federal Rules as a whole, which are designed to ‘secure the

just, speedy, and inexpensive determination of every action.’”7                The movant bears the

initial responsibility of identifying the basis for its motion and the parts of the record that

support its claim that no such genuine issue of material fact exists.8

        Once the moving party satisfies its initial burden, the burden then shifts to the

non-moving party to demonstrate that the court should not grant summary judgment.9 To

do so, the non-moving party must “go beyond the pleadings” to identify specific facts

that establish a genuine issue for trial.10 Rule 56 expressly requires as much, stating as

follows:

      When a motion for summary judgment is properly made and supported, an
      opposing party may not merely on allegations or denials in its own pleading;
      rather, its response must – by affidavits or as otherwise provided in this rule
      – set out specific facts showing a genuine issue for trial.11

Indeed, it is established that “[t]he non-movant may not rely upon the theoretical

possibility that its claim is valid.”12 Rather, a party opposing a motion for summary



6
   Id, 477 U.S. at 322; Moore v. Miss. Valley St. Univ.. 871 F.2d 545, 549 (5th Cir. 1989).
7
   Ragas v. Tenn Gas Pipeline Co., 136 F.3d 455, 458 (5th Cir. 1998) (quoting Celotex, 477 U.S. at 327
(1986)).
8
   Burge v. Parish of St. Tammany, 187 F.3d 452, 465 (5th Cir. 1999).
9
   Ragas, 136 F.3d at 458.
10
    Celotex, 477 U.S. at 324.
11
    FED. R. CIV. P. 56(e)(2).
12
    Pennington v. Vistron Corp., 876 F.2d 414, 426 (5th Cir. 1989).


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   judgment must present “significant probative evidence” to defeat the motion.13                     If the

   non-moving party submits evidence that is “merely colorable” or “not significantly

   probative,” or establishes only a “metaphysical doubt,” the movant is entitled to summary

   judgment.14



II. Plaintiffs are entitled to summary judgment with respect to BP’s deliberate waiver
       of OPA’s liability cap.


           BP has represented that it will pay “all legitimate claims” arising out of the

   Deepwater Horizon oil spill. At a status conference on October 15, 2010, this Court

   inquired whether BP may later contend that this promise was subject to the $75 million

   liability cap contained within Section 2704(a)(3) of the Oil Pollution Act of 1990

   (“OPA”).15 At that time, Counsel for BP failed to definitively indicate whether BP would

   invoke this statutory cap on liability, and in response, this Court directed BP to “advise

   the court and all counsel in writing by OCTOBER 22, 2010 as to whether BP formally

   waives the $75 million OPA damages cap.”16

           In response, BP Exploration & Production filed a “Statement of BP Exploration &

   Production Inc. Re [sic] Applicability of Limit of Liability under Oil Pollution Act of



   13
      Conkling v. Turner, 18 F.3d 1285, 1295 (5th Cir. 1994) (quotation omitted).
   14
      Hawking v. Ford Motor Credit Co., 210 F.3d 540, 545 (5th Cir. 2000); Skyline Air Serv. Inc. v. G.L.
   Capps Co., 916 F.2d 977, 980 (5th Cir. 1990) (quoting Matsushita Elec. Indus. Co. v. Zenith Radio Corp.,
   475 U.S. 574 (1986)).
   15
      33 U.S.C. § 2704(a)(3).
   16
      DOC 565, filed October 15, 2010 (emphasis in original).


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1990” (the “Statement”) on October 18, 2010.17 In the Statement, BP reiterated its prior

representations that BP “would pay all legitimate claims, regardless of the OPA statutory

limit of liability.”18 It further noted, “BP already has paid claims many times over the

OPA limit and will live up to its public commitment to pay all legitimate claims made in

connection with the Deepwater Horizon incident and the resulting oil spill.” 19

Furthermore, BP expressly stated that it “has chosen to waive the statutory limitation

on liability under OPA.” 20              BP further reiterated its pledge to pay “all legitimate

claims,” regardless of whether other Responsible Parties elect to “likewise . . .

unequivocally waive their respective rights to invoke the limits.”21

          The toothpaste cannot go back into the tube; BP cannot renege upon this pledge to

the citizens and businesses of the Gulf Coast. The language used by BP constitutes an

unequivocal and binding statement of BP Exploration & Production Inc.’s intent to waive

the liability cap provided by Article 2704(a)(3). Under the law of this circuit, “a judicial

admission is a formal concession in the pleadings or stipulations by a party or counsel

that is binding on the party making them. Although a judicial admission is not itself

evidence, it has the effect of withdrawing a fact from contention.”22 Such an admission




17
     See, Exhibit A.
18
     Id., at ¶ 2.
19
     Id.
20
     Id. (emphasis added).
21
     Id., at ¶¶ 3-4 (emphasis added).
22
     Martinez v. Bally’s of Louisiana, Inc., 244 F.3d 474, 476.


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is “conclusive” and cannot be subsequently controverted or negated by the party making

the admission.23

         The clear and unequivocal declaration in the Statement that BP “has chosen to

waive the statutory limitation on liability under OPA,” in response to a direct inquiry

from this Court as to that very question, constitutes a textbook example of a judicial

admission. In effect, a defendant’s written assertion that it will waive a statutory cap on

liability constitutes the flip side of the more common situation where a plaintiff

unequivocally stipulates that its claims do not exceed the jurisdictional threshold — such

a declaration is treated as a binding judicial admission.24

         Much as a plaintiff can choose to waive its right to assert a claim, a defendant

such as BP Exploration & Production can waive the right to invoke defenses that may

limit their liability. 25        Waiver is “‘generally understood to be the intentional

relinquishment of a known existing legal right.’ For waiver to occur, there must be an

existing right, knowledge of its existence, and either an actual intention to relinquish that

right or conduct so inconsistent with the intent to enforce the right as to induce a

reasonable belief that it has been relinquished.” 26                 Plainly, these circumstances are

satisfied here: BP was unquestionably aware of its right to invoke the damages cap under

OPA, as it expressly cited the relevant statutory subsection in its Statement. Nonetheless,
23
    Id. (citing Keller v. U.S, 58 F.3d 1194, 1199 n.8 (7th Cir. 1995) (quoting JOHN WILLIAM STRONG,
MCCORMICK ON EVIDENCE, §254 at 142 (1992))).
24
    See, e.g., Blouin v. Shell Oil Co., No. 92-3847, 1993 WL 62404 (E.D. La. 3/2/93) (Arceneaux, J.)
(citing LeBlanc v. Kansas City Southern R. Co.,752 F.Supp. 1302 (M.D. La. 1990).
25
    See, N. Am. Specialty Ins. Co. v. Debis Financial Servs., Inc., 513 F.3d 466 (5th Cir. 2007) (holding that
defendant waived right to raise defense of unseaworthiness).
26
    Id. (quoting Peavey Co. v. M/V ANPA, 971 F.2d 1168, 1175 (5th Cir. 1992)).


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it unambiguously elected to “waive the statutory limit of liability.”27       In light of this

unequivocal assertion, no further inquiry is necessary.           While BP Exploration &

Production is the “responsible party” designated under OPA, and has waived the

applicable cap on liability, the other BP entities, who are not designated OPA responsible

parties, can not invoke the cap in the first instance. Thus, all BP Defendants have

unambiguously waived the limitation on liability available under OPA, and they should

be precluded from attempting to back down from this promise at a later date. As there is

no dispute of material fact with respect to the waiver of the liability cap, a grant of partial

summary judgment on this issue is not only appropriate, but necessary.



      III. Conclusion.

          For the reasons set forth above, Plaintiffs are entitled to a grant of partial

summary judgment with respect to the inapplicability of OPA’s damages cap as to all BP

Defendants.

          This 1st day of November, 2010.


Respectfully submitted,


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27
     See, Exhibit A, at ¶2.


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                                CERTIFICATE OF SERVICE

       WE HEREBY CERTIFY that the above and foregoing Memorandum has been served
on All Counsel by electronically uploading the same to Lexis Nexis File & Serve in
accordance with Pretrial Order No. 12, and that the foregoing was electronically filed



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Louisiana by using the CM/ ECF System, which will send a notice of electronic filing in
accordance with the procedures established in MDL 2179, on this 1st day of November,
2010.


                                    /s/ James Parkerson Roy and Stephen J. Herman




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